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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

PENDLETON HEIGHTS GAY-STRAIGHT                       )
ALLIANCE an unincorporated association,              )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )        No. 1:21-cv-02480-JRS-TAB
                                                     )
SOUTH MADISON COMMUNITY SCHOOL                       )
CORPORATION,                                         )
PRINCIPAL, PENDLETON HEIGHTS HIGH                    )
SCHOOL in her official capacity,                     )
                                                     )
                              Defendants.            )


               ORDER SETTING TELEPHONIC STATUS CONFERENCE

       This matter is set for a telephonic status conference at 3:30 p.m. on October 14,

2021, before Magistrate Judge Tim A. Baker. Parties shall appear by counsel. The information

needed by counsel of record to participate in this telephonic conference will be provided by

separate notification. The purpose of this conference is to address case status and settlement.

       Date: 10/8/2021
                                            _______________________________
                                             Tim A. Baker
                                             United States Magistrate Judge
                                             Southern District of Indiana




Distribution to all counsel of record via ECF.
